                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      NO. 3:12-00076
                                                  )      JUDGE CAMPBELL
ALLEN WALKER, et al.                              )

                                           ORDER

       Pending before the Court is Defendant Billy Griffith”s Motion For Leave To Join

Defendant Jeffrey Johnson’s Motions (Docket Entries 260-262) (Docket No. 266). Through the

Motion, Defendant Griffith seeks to join Defendant Jeffrey Johnson’s Motions at Docket Nos.

260, 261, and 262. The Motion is GRANTED.

       It is so ORDERED.

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                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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